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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

IN RE:                                  )
HDR FARMS INCORPORATED,                 )                   Chapter 11
                                        )
      Debtor                            )                   CASE NO. 20-50888-GRS
_______________________________________ )
                                        )
HDR FARMS INCORPORATED                  )                   A.P.No. 21-05166-grs
LIQUIDATING TRUST,                      )
                                        )
      Plaintiff                         )
                                        )
v.                                      )
                                        )
APPLIED BOTANICS LLC f/k/a              )
XSI USA, LLC; COZEN O’CONNOR;           )
KAWEL LAUBACH; DEAN JOHNSON             )
ANNETTE COX; CHARLES THOMAS             )
“TODD” MERCER; and APPLIED              )
BIOLOGY LLC                             )
                                        )
      Defendants                        )
_______________________________________ )


                                       AGREED ORDER

       This matter came before the Court on the agreement by the parties to extend the deadline

for exchanging and filing trial exhibits from July 27, 2022 to August 1, 2022 and the Court having

reviewed the agreement and determined that the extension is acceptable, the Court Orders that the

deadline for exchange and filing trial exhibits shall be extended to August 1, 2022.

HAVE SEEN AND AGREED:

/s/ Barry D. Hunter
Barry D. Hunter, Esq.
Adam R. Kegley, Esq.
Frost Brown Todd LLC
250 West Main Street, Suite 2800
Lexington, Kentucky 40507
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                Copies to:

                *All Parties designated to receive electronic service




                0149133.0751045 4878-6004-6891v1




___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                  Signed By:
                                                                  Gregory R. Schaaf
                                                                  Bankruptcy Judge
                                                                  Dated: Monday, July 25, 2022
                                                                  (grs)
